             Case 3:16-bk-02230-PMG        Doc 1156      Filed 08/15/18     Page 1 of 6



                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION

In re:
                                                         Case No.: 3:16-bk-02230-PMG
RMS TITANIC, INC., et al.,
                                                         Chapter 11
                 1
      Debtors.
________________________________/                        (Jointly Administered)

             NOTICE OF DEPOSITION OF CORPORATE REPRESENTATIVE
               OF GLASSRATNER ADVISORY & CAPITAL GROUP LLC

         PLEASE TAKE NOTICE that at 12:00 p.m. on Friday, August 24, 2018, counsel for

Official Committee of Equity Security Holders of Premier Exhibitions, Inc., Chapter 11 Debtor

in Case No. 3:16-bk-02232-PMG and the parent company of RMS Titanic, Inc., the Chapter 11

Debtor in Case No. 3:16-bk-02230-PMG will take the testimony by deposition upon oral

examination of GlassRatner Advisory & Capital Group LLC ("GlassRatner") at the offices of

GlassRatner, 3445 Peachtree Rd NE, Unit 1225, Atlanta, Georgia 30326, pursuant to Rule 30 of

the Federal Rules of Civil Procedure, made applicable by Rule 7030 of the Federal Rules of

Bankruptcy Procedure.

         The deposition will take place before an officer authorized by law to administer oaths for

the purposes of discovery, for use as evidence at any hearing or trial and for any other purposes

allowed under Federal Rules of Civil Procedure and Federal Rules of Bankruptcy Procedure. The

deposition will be recorded by stenographic means.




1
  The Debtors in the chapter 11 cases, along with the last four digits of each Debtor's federal tax
identification number include: RMS Titanic, Inc. (3162); Premier Exhibitions, Inc. (4922); Premier
Exhibitions Management, LLC (3101); Arts and Exhibitions International, LLC (3101); Premier
Exhibitions International, LLC (5075); Premier Exhibitions NYC, Inc. (9246); Premier Merchandising,
LLC (3867); and Dinosaurs Unearthed Corp. (7309) (collectively, the "Debtors"). The Debtors' service
address is 3045 Kingston Court, Suite I, Peachtree Corners, Georgia 30071.


46103513;2
             Case 3:16-bk-02230-PMG       Doc 1156     Filed 08/15/18    Page 2 of 6



         Pursuant to Federal Rule of Civil Procedure 30(b)(6), as made applicable to this matter

by Federal Rules of Bankruptcy Procedure 7030, GlassRatner shall designate one or more

officers, directors, managing agents or other persons to appear and testify on its behalf

concerning the matters set forth below. The individual(s) designated shall testify to matters

known or available to GlassRatner.

                         TOPICS FOR RULE 30(b)(6) DEPOSITION

    1. All documents produced by GlassRatner Advisory & Capital Group LLC in response to
       the Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of
       Premises in a Bankruptcy Case issued by the Official Committee of Equity Security
       Holders.

    2. The Asset Purchase Agreement, including among other things, the proposed Bidding
       Procedures Order, the Bid Procedures, and other Bid Protections (collectively, the “Sale
       Procedures”) set forth therein and attached as exhibits to the Motion for Approval of (a)
       Competitive Bidding and Sale Procedures; (b) Form and Manner of Notices; (c) Form of
       Asset Purchase Agreement; (d) Break Up-Fee and Expense Reimbursement; (e)
       Scheduling Auction and Hearing to Consider Final Approval of Sale, Including Rejection
       or Assumption and Assignment of Related Executory Contracts and Unexpired Leases;
       (f) Authorizing Sale of the Transferred Assets Free and Clear of All Liens, Claims,
       Encumbrances, and Interests; (g) Settlement with PacBridge Parties; and (h) Granting
       Related Relief (Doc. 1055) filed by Debtor RMS Titanic, Inc. (the "Sale Motion").

    3. Negotiations and other communications that led to the Asset Purchase Agreement and the
       Sale Procedures set forth in the Sale Motion and other related matters.

    4. Negotiations and other communications with Gilbert Li and other Alta Fundamental
       Advisers LLC representatives and agents related to the Asset Purchase Agreement and
       the Sale Procedures set forth in the Sale Motion and other related matters.

    5. Negotiations and other communications with Giovanni Wong and other PacBridge
       (Capital Partners (HK) Ltd) representatives and agents related to the Asset Purchase
       Agreement and the Sale Procedures set forth in the Sale Motion and other related matters.

    6. Negotiations and other communications with Bill Schwartz and other Apollo Global
       Management, LLC representatives and agents related to the Asset Purchase Agreement
       and the Sale Procedures set forth in the Sale Motion and other related matters.




46103513;2                                      2
             Case 3:16-bk-02230-PMG         Doc 1156      Filed 08/15/18     Page 3 of 6




Date: August 15, 2018                            By: /s/ Peter J. Gurfein
                                                 Peter J. Gurfein
                                                 LANDAU GOTTFRIED & BERGER LLP
                                                 1801 Century Park East, Suite 700
                                                 Los Angeles, California 90067
                                                 (310) 557-0050
                                                 (310) 557-0056 (Facsimile)
                                                 pgurfein@lgbfirm.com
                                                 -and-

                                                 AKERMAN LLP
                                                 By: /s/ Jacob A. Brown
                                                 Jacob A. Brown
                                                 Florida Bar No. 170038
                                                 50 North Laura Street, Suite 3100
                                                 Jacksonville, Florida 32202
                                                 (904) 798-3700
                                                 (904) 798-3730 (Facsimile)
                                                 Jacob.brown@akerman.com
                                                 Attorneys for the Official Committee of Equity
                                                 Security Holders of Premier Exhibitions, Inc.



                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on August 15, 2018, the foregoing was transmitted to the
Court for uploading to the Case Management/Electronic Case Files ("CM/ECF") System, which
will send a notice of electronic filing to all creditors and parties in interest who have consented to
receiving electronic notifications in this case. In accordance with the Court's Order Granting
Debtors' Motion for an Order Pursuant to 11 U.S.C. § 105(a) and Rule 2002 Establishing Notice
Procedures (Doc. 140), a copy of the foregoing was also furnished on August 15, 2018 by U.S.
mail, postage prepaid and properly addressed, to the Master Service List attached hereto.

                                                              /s/ Jacob A. Brown
                                                              Attorney




46103513;2                                        3
        Case 3:16-bk-02230-PMG       Doc 1156   Filed 08/15/18    Page 4 of 6



                               MASTER SERVICE LIST
                              Case No. 3:16-bk-02230-PMG

A-1 Storage and Crane                    ABC Imaging
2482 197th Avenue                        14 East 38th Street
Manchester, IA 52057                     New York, NY 10017

A.N. Deringer, Inc.                      ATS, Inc.
PO Box 11349                             1900 W. Anaheim Street
Succursale Centre-Ville                  Long Beach, CA 90813
Montreal, QC H3C 5H1

Broadway Video                           CBS Outdoor/Outfront Media
30 Rockefeller Plaza                     185 US Highway 48
54th Floor                               Fairfield, NJ 07004
New York, NY 10112

Dentons Canada LLP                       Enterprise Rent-A-Car Canada
250 Howe Street, 20th Floor              709 Miner Avenue
Vancouver, BC V6C 3R8                    Scarborough, ON M1B 6B6

Expedia, Inc.                            George Young Company
10190 Covington Cross Drive              509 Heron Drive
Las Vegas, NV 89144                      Swedesboro, NJ 08085

Gowlings                                 Hoffen Global Ltd.
550 Burrard Street                       305 Crosstree Lane
Suite 2300, Bental 5                     Atlanta, GA 30328
Vancouver, BC V6C 2B5

Kirvin Doak Communications               MNP LLP
5230 W. Patrick Lane                     15303 - 31st Avenue
Las Vegas, NV 89118                      Suite 301
                                         Surrey, BC V3Z 6X2

Morris Visitor Publications              NASDAQ Stock Market, LLC
PO Box 1584                              805 King Farm Blvd.
Augusta, GA 30903                        Rockville, MD 20850

National Geographic Society              NYC Dept. of Finance
1145 - 17th Avenue NW                    PO Box 3646
Washington, DC 20036                     New York, NY 10008
         Case 3:16-bk-02230-PMG         Doc 1156    Filed 08/15/18   Page 5 of 6



PacBridge Limited Partners                  Pallet Rack Surplus, Inc.
22/F Fung House                             1981 Old Covington Cross Road NE
19-20 Connaught Road                        Conyers, GA 30013
Central Hong Kong

Ramparts, Inc.                              Screen Actors Guild
d/b/a Luxor Hotel and Casino                1900 Broadway
3900 Las Vegas Blvd. South                  5th Floor
Las Vegas, NV 89119                         New York, NY 10023

Seaventures, Ltd.                           Sophrintendenza Archeologica
5603 Oxford Moor Blvd.                      di Napoli e Pompei
Windemere, FL 34786                         Piazza Museo 19
                                            Naples, Italy 80135

Syzygy3, Inc.                               Time Out New York
231 West 29th Street                        405 Park Avenue
Suite 606                                   New York, NY 10022
New York, NY 10001

TPL                                         TSX Operating Co.
3340 Peachtree Road                         70 West 40th Street
Suite 2140                                  9th Floor
Atlanta, GA 30326                           New York, NY 10018

Verifone, Inc.                              Samuel Weiser
300 S. Park Place Blvd.                     565 Willow Raod
Clearwater, FL 33759                        Winnetka, IL 60093

WNBC - NBC Universal Media                  United States Attorney’s Office
30 Rockefeller Center                       Middle District of Florida
New York, NY 10112                          300 N. Hogan Street, Suite 700
                                            Jacksonville, FL 32202

Jonathan B. Ross, Esq.                      Christine R. Etheridge, Esq.
Gowling WLG (Canada) LLP                    Bankruptcy Administration
550 Burrard Street, Suite 2300, Bentall 5   Wells Fargo Vendor Financial Services, LLC
Vancouver, BC V6C 2B5                       PO Box 13708
                                            Macon, GA 31208
        Case 3:16-bk-02230-PMG      Doc 1156   Filed 08/15/18   Page 6 of 6



TSX Operating Co., LLC                 Dallian Hoffen Biotechnique Co., Ltd.
c/o James Sanna                        c/o Ezra B. Jones
70 W. 40th Street                      305 Crosstree Lane
New York, NY 10018                     Atlanta, GA 30328
Creditor Committee                     Creditor Committee

B.E. Capital Management Fund LP
Thomas Branziel
205 East 42nd Street , 14th Floor
New York, NY 10017
Creditor Committee
